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                        EXHIBIT C
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              OCALA DIVISION

JUSTIN NELSON,

              Plaintiff,

v.                                             Case No.: 5:23-cv-00595-JSM-PRL


RHYNO CONSTRUCTION, INC.,

           Defendant.
______________________________________/

     DEFENDANT’S FIRST SET OF INTERROGATORIES TO PLAINTIFF

       Defendant, RHYNO CONSTRUCTION, INC. (“Defendant”), pursuant to

Rules 26 and 33 of the Federal Rules of Civil Procedure, hereby requests Plaintiff,

JUSTIN NELSON (“Plaintiff”), serve upon the undersigned, within the time

prescribed by the Federal Rules of Civil Procedure, sworn answers to each of the

interrogatories hereinafter set forth.

                            GENERAL INSTRUCTIONS

       In answering each interrogatory, you are required not only to furnish such

information as you know of your own personal knowledge, but also to furnish

information which is in the possession of your attorneys, investigators, actuaries, or

anyone acting on your behalf or their behalf, except to the extent that such information

is privileged. If, after exercising due diligence to secure the information, you are

unable to answer in full any interrogatory or portion thereof, so state and answer to
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the extent possible, specifying the reason you are unable to answer the remainder,

describe your efforts to obtain the information, and state whatever information is

known concerning the unanswered portion, at all times excluding any privileged

information.   In the event you claim that any information called for in these

interrogatories is privileged or otherwise excluded from discovery, set forth the basis

for the claim of privilege or exclusion and provide sufficient information to identify

the document, oral communication, or conversation claimed to be privileged or

excluded.

      If you object to any interrogatory and refuse to answer that part, state your

objection, identify the part to which you are objecting and answer the remaining

portion of the interrogatory.    If you object to the scope or time period of an

interrogatory, state your objection, identify the scope or time period to which you are

objecting, and answer the interrogatory for the scope or time period you believe is

appropriate. If your answer to an interrogatory is qualified in any particular way, set

forth the details of such qualification. These interrogatories are continuing in the

manner provided by law. Hence, if after service of your answer to an interrogatory,

you obtain additional information responsive thereto, you shall supplement or amend

your answer in accordance with the Federal Rules of Civil Procedure.




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                                    I. DEFINITIONS

       1.        As used herein, “Plaintiff,” “You,” or “Your” means Justin Nelson, in

the action entitled Justin Nelson v. Rhyno Construction, Inc., Case No. 5:23-cv-00595-

JSM-PRL, as well as his representatives, agents, attorneys, and accountants; any one

or group of the foregoing; or any other person acting for, on Justin Nelson’s behalf, or

under his authority or control.

       2.        “Defendant” means Rhyno Construction, Inc.; its present or former

employees, predecessors, subsidiaries, parents, affiliates, divisions; and anyone acting

on its behalf.

       3.        As used herein, “dates” shall include the exact day, month, and year, if

ascertainable or, if not, the best approximation thereof (including relationship to other

events). Where approximate dates are used, so indicate.

       4.        As used herein, the terms "document" and "documents" mean any

document in your possession, custody, or control and include, but are not limited to:

any written, graphic, electronically stored or created matter or information; any record

of any type or description, including, but not limited to, messages, meeting minutes,

records, letters, telegrams, electronic mail, voicemail, text messages, private wire

messages, instant messages, chats, telephone communications, postings on any web

page or any blog or site (including, but not limited to, internet home pages or services

such as Facebook, LinkedIn, Snapchat, Instagram, and/or TikTok), facsimile

transmissions, contracts, drafts of contracts, worksheets, notes, advice, agreements,

comparisons, estimates, summaries, tabulations, press releases, memoranda, diaries
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 or journals, calendars, appointment books, agendas, schedules, telexes, cables, checks,

 check stubs, financial statements, affidavits or declarations; reports or opinions of

 consultants or counsel, accountants, or auditors, maps, diagrams, charts, illustrations,

 pamphlets, manuals, papers, books, transcripts or written analyses; employment

 materials, including, but not limited to, interoffice communications, employee

 evaluations, employee warning reports, disciplinary reports, or the like; reports,

 instructions, notes, minutes, photocopies, shipping documents, computer disks or

 diskettes, film, CDs or DVDs, machine-readable matters, audiotapes, videotapes,

 photographs, recordings, and all tangible things from which information can be

 processed, transcribed, or retrieved; originals and copies; any non-identical copies,

 whether different from the original because of any alteration, notes, comments, or

 other material contained thereon or attached thereto, or otherwise; wherever located,

 however produced or reproduced, and in whatever language; any draft of any

 document; and all other things on which words, figures, notations, writings, symbols,

 or sounds are affixed or contained in records, in writing, or by any other means, and

 any such material underlying, supporting, or used in the preparation thereof.

       5.       “Employee” means any present or former employee of Defendant. Each

 verb used in these interrogatories includes both the past and present tense.

       6.       “Facts” means all circumstances, events, acts, occurrences, including the

 dates thereof, and evidence, including hearsay, pertaining to or touching upon the time

 in question.



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        7.    (a)     “Identify” when used in reference to an individual person means

 to state:

              (i)     his or her full name;

              (ii)    whether he or she is or was an employee of Defendant and, if so,

        all positions he or she held with Defendant and the dates of commencement

        and termination, if any, of the holding of those positions;

              (iii)   his or her present employer and business and home addresses, or

        if not known, his or her last known employer and business and home addresses;

              (iv)    his or her present home and business telephone numbers, or if not

        known, his or her last known home and business telephone numbers.

              (b)     “Identify” when used in reference to a corporation, partnership,

 joint venture, firm, labor organization, or other entity or organization, means state its

 full name and address, principal place of business, and state of incorporation or

 organization.

              (c)     “Identify” when used in reference to a document means to state

 the date, title, author, addressee, recipient, type of document (e.g., letter, document,

 memorandum, telegram, statement, publication, note, etc.), summary of contents, and

 the place and address of its present location, and the name and address of its custodian.

 If only a portion of a document is relevant to a particular interrogatory, then a request

 to “identify” includes stating a sufficient description thereof to distinguish that portion

 from the balance of said document (e.g., by page and paragraph number).



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              (d)       “Identify” when used in reference to any other form of act,

 conduct, practice, communication, opinion, or expression (i.e., not a “document” or

 “documentary evidence”), means to state its nature (e.g., oral statement, activity,

 action, agreement not reduced to writing, etc.); the date and place thereof; the identity

 of each person who participated in, had any part of it, or who was present there; the

 subject matter and substance thereof including, without limitation, the substance of

 what was said by each person who participated in any oral communication, and the

 identity of the custodian and location of any writing that recorded, summarized, or

 confirmed the act, conduct, practice, communication, opinion, or expression.

              (e)       "Identify," when used with respect to any law, rule, or regulation,

 means to provide the citation, by title, volume or book, edition, specific section or rule,

 and page, to the official compilation of the law, rule, or regulation being identified or,

 if such citation is not available, the alternative compilation, including title, volume or

 book, edition, section or rule, and page.

       8.     “State whether” means (i) to provide a “yes” or “no” response to the

 inquiry, or (ii) in the event you are unable to respond to the inquiry by “yes” or “no,”

 to set forth the reason or reasons you cannot so respond, and otherwise respond fully

 and accurately in accordance with the information you have in your possession,

 custody, or control.

       9.     “Set forth” means (i) in the event the inquiry asks for specific names,

 numbers, dates, items, or other specific designations, to state or list such names,

 numbers, dates, items, or other designations, or (ii) in the event the inquiry asks for
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 information, other than specific names, numbers, dates, items, or other specific

 designations, to provide in full detail the information requested.

       10.    “State the factual basis” means to set forth each and every fact, name,

 item of information, inference, conclusion, argument, or other thing which you

 contend supports, or tends to indicate the trust of, the contention, answer, or allegation

 that is the subject of the inquiry, and as to such fact, etc., set forth each and every

 source thereof and/or other basis for asserting its truth or existence, and the date of

 each such fact, etc., where applicable.

       11.    “Expert” means one who has knowledge in a specialized field, that

 knowledge being obtained from either education or personal experience.




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                               II. INTERROGATORIES

        1.     Please set forth the factual basis for your claim that Defendant violated
 the Americans with Disabilities Act, 42 U.S.C. §§ 12111-12117, 12203 (“ADA”) as
 alleged in your Amended Complaint. In responding to this interrogatory, please
 identify each alleged act in violation of the ADA, when the act occurred, the past or
 present employees of Defendant involved in such alleged act, and why you believe the
 act to be in violation of the ADA.

        2.     Do you contend that Defendant has taken an adverse employment
 action(s) against you? If your answer is “yes,” please set forth each and every act you
 contend was an adverse employment action; identify who, on behalf of Defendant,
 took the action; explain the reason(s) you believe such action was taken; and set forth
 when each adverse action allegedly was taken.

       3.      Please set forth each and every act, instance of conduct, discussion,
 comment, statement, writing, or communication during your employment with
 Defendant that you contend is discriminatory, harassing, intimidating, hostile,
 unlawful, humiliating, and/or supports your claims of discrimination and which was
 made or undertaken by an individual presently or formerly employed by Defendant.
 In responding to this interrogatory, for each discussion, etc., identify each person
 present when the discussion, etc., took place and/or was received and sent, the manner
 of the communication, who made the communication, and the content of the
 discussion, etc.

        4.     Please identify all similarly situated individuals who were treated
 differently than you. In responding to this interrogatory, please identify the individual,
 the position held by the individual, his or her supervisor when the individual was
 employed by Defendant, how the individual was similarly situated, and how the
 individual was treated differently.

        5.     Please identify each and every person who has, claims to have, or whom
 you believe may have any information or knowledge about any of the allegations in
 the pleadings and the facts underlying those allegations, including, but not limited to,
 any and all damages you claim to have suffered as a result of any act or omission by
 the Defendant, regardless of whether the information or knowledge supports or
 contradicts any of those allegations. In responding to this interrogatory, please set
 forth, for each person identified, the specific knowledge or information that you
 believe that person possesses.

       6.    Please identify any and all physicians (including medical doctors, doctors
 of osteopathy, chiropractors, or any other health care provider), pharmacists,
 hospitals, psychologists, psychiatrists, or other mental health counselors or
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 professionals, ministers, counselors, or any other person with whom you consulted or
 sought treatment, or whom you contacted because of any physical or mental malady,
 infirmity, condition, or harm which you allege to have been caused by any act or
 omission of Defendant or for which you otherwise contend Defendant is liable,
 including, but not limited to, alleged emotional distress, mental anguish, or any other
 injuries arising out of or relating to your allegations in this action and/or with whom
 you have discussed your physical, emotional, or mental condition during the past five
 years. In responding to this interrogatory for each individual, please set forth the name
 and business address of the individual, the dates of each contact, and the reason you
 contacted or met with the individual.

        7.     Please identify any statement(s) made by any individual regarding the
 subject matter of this litigation that you contend constitutes a declaration against
 interest or an admission by Defendant. In answering this question, please identify the
 person who made the statement, the substance of the statement, when the statement
 was made, and the name of any witnesses to the statement.

        8.      With as much specificity as possible, please set forth all of your injuries
 and the exact amount of damages that you claim, whether as an affirmative claim or
 as a setoff, and include in your answer: the count in your Complaint to which the item
 of damages relates; a statement of the elements of each claim of money damages and
 the amount being sought with respect to each such element; the category into which
 each item of damages falls, i.e., general damages, special or consequential damages
 (such as lost profits), interest, and any other relevant categories; the monetary value
 placed on each category of damage; the factual basis for each item of damages; and an
 explanation of how you computed each item of damages, including any mathematical
 formula used.

        9.     Please identify all efforts you have made to obtain employment
 (including with Defendant) from the date your employment with Defendant was
 terminated through the present date. For each job you have held during that period,
 please set forth the name of your employer, the employer’s address, the employer’s
 telephone number, the title of the position, the duties of the position, your supervisor’s
 name, your wage or salary rate, the total amount of wages or salary earned, and, if
 you no longer work for that employer, the reason for your separation from
 employment. For each position you unsuccessfully sought or declined employment,
 please state the dates of contact between you and that entity regarding potential
 employment, the method of contact between you and that entity (i.e., e-mail,
 telephone, United States mail, in person),whether a written or electronic application
 or resume was completed or submitted by you to such entity, whether any offer of
 employment was made to you by such entity, and whether, if an offer was made and
 declined, the reason for declining such offer.


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       10. From the date your employment with Defendant was terminated to the
 present, have you received any income from alternate employment, self-employment,
 or from sources other than employment? If so, please list the following:

           a. The name, address, and phone number of every source from which you
              received income, compensation, gifts, benefits, or other things of value
              (if the source is an entity other than a single individual, please provide
              the name of your principal contact at that entity);

           b. The total monetary value of the income, compensation, gifts, benefits, or
              other things of value that you received from each source during the
              specified year (please state this figure as a gross amount, i.e., without
              adjustment for taxes or other deductions);

           c. The nature of the income, compensation, gifts, benefits, or other things
              of value that you received from each source (i.e., wages, income from self-
              employment, gift, etc.); and

           d. The dates on which amounts were received from each such source (if
              multiple payments were made on a regular basis, specify the beginning
              and ending dates of the period, the frequency with which payments were
              received, i.e., monthly, weekly, every two weeks, and any irregularities
              in the payment cycle).

        11. Please identify each and every time from the date of the accident
 referenced in paragraph 8 of the Amended Complaint to the present, in which you
 applied for workers’ compensation benefits; disability benefits, including social
 security disability benefits; and unemployment benefits. For each application, list the
 date of the application, who to whom you submitted the application, and the outcome
 of the application.

        12. Please set forth the name and address of each and every expert who has
 been retained or specifically employed by you in anticipation of litigation or
 preparation for trial or who you intend to offer for opinion testimony at trial. With
 regard to each expert or professional identified, please state the subject on which the
 individual would testify, if called to trial, and whether a written report has been
 prepared by such individual. If a written report has been prepared, please provide the
 date of such report; and the name and address of the person having possession,
 custody, or control of such report; and the name of the person to whom such report
 was written.

       13. Please identify each personal website or social networking internet site
 you have used or maintained since August 1, 2021, including, but not limited to, each
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 and every account on Facebook, Twitter, LinkedIn, Instagram, Snapchat, and/or
 Tiktok.

        14. Please identify each e-mail address and telephone number used by you
 during the period of August 1, 2021, to the present. In responding to this interrogatory,
 please state each e-mail address and telephone number, the starting and ending dates
 you used each telephone number or e-mail address, the subscriber or individuals
 associated with the telephone number or e-mail address (if other than you), and the
 name of the provider, service, or company who provided, hosted, or maintained the
 telephone number or e-mail address.

        15. Please identify each and every individual (other than an attorney) with
 whom you have discussed your employment by Defendant, including, but not limited
 to, any alleged request for a leave of absence, any disciplinary action, your
 performance while employed by Defendant, the termination of your employment, any
 injuries and/or damages allegedly suffered by you for which you are seeking
 compensation in this action, or your attempts to obtain employment after your
 termination. In responding to this interrogatory, for each individual identified, please
 provide his or her address and telephone number; the subject matter of the
 communication, discussion, or conversation; the date or dates when the conversation
 occurred; and any witnesses to the conversation.

        16. State whether, in the last ten (10) years, you have ever filed or been a
 party or witness to any civil, criminal, or administrative lawsuit, internal company
 investigation, or other proceeding (excluding the instant action), any bankruptcy
 proceeding, small claims proceeding, charge of discrimination, administrative or
 agency complaint, or other proceeding resolved in mediation and/or arbitration or by
 any kind of pretrial intervention program or deferred prosecution agreement. If so,
 identify, as to each, when the suit, complaint, or charge was filed or investigation or
 proceeding initiated; the name and address of your attorney, if any; the names and
 addresses of all the parties thereto; the subject matter of the proceeding; and the result,
 outcome, verdict, sentence, or terms of any agreement of each such suit or proceeding.

        17. Please identify each and every person who answered any or all of these
 interrogatories, provided information for any answer, provided advice, or in any other
 way took part in the preparation of these answers, describing for each person so
 identified, what part he or she performed in the answering of these interrogatories.




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 DATED this 24th day of April, 2024.

                                         Respectfully submitted,

                                         /s/ Benjamin W. Bard
                                         Benjamin W. Bard
                                         Florida Bar No. 95514
                                         Benjamin S. Briggs
                                         Florida Bar No. 113814
                                         Erica E. Pope
                                         Florida Bar No. 1025079
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                                         Erica.pope@arlaw.com
                                         Elaine.glotz@arlaw.com
                                         Attorneys for Defendant

                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 24th day of April, 2024, the foregoing was

 served by e-mail to the following: Serena M. Kurtz, Esq., Counsel for Plaintiff.

                                         /s/ Benjamin W. Bard
                                         Attorney




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                                  VERIFICATION

        I, JUSTIN NELSON, hereby attest that the answers to the foregoing
 interrogatories are true and correct.


                                        ______________________________________
                                        AFFIANT

 STATE OF FLORIDA

 COUNTY OF ________________________

         I HEREBY CERTIFY that on this day personally appeared before me, an

 officer duly authorized to administer oaths and take acknowledgments, JUSTIN

 NELSON, to me well known to be the person described in and who executed the

 foregoing interrogatories [OR] who has produced _____________________________

 as identification, and he acknowledged before me that he executed the same freely and

 voluntarily for the purposes therein expressed, and who did [did not] take an oath.

         WITNESS my hand and seal on this _______ day of ___________________,

 2024.

 (SEAL)

                                        ______________________________________
                                        NOTARY PUBLIC




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